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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued February 12, 2024               Decided July 16, 2024

                                    No. 23-1069

                               HEALTHY GULF, ET AL.,
                                   PETITIONERS

                                          v.

                     FEDERAL ENERGY REGULATORY COMMISSION,
                                  RESPONDENT

                            COMMONWEALTH LNG, LLC,
                                 INTERVENOR



                             Consolidated with 23-1071


                       On Petitions for Review of Orders of the
                       Federal Energy Regulatory Commission



                Nathan Matthews argued the cause for petitioners. With
            him on the briefs were Rebecca McCreary, Caroline Reiser,
            Morgan Johnson, and Jared E. Knicley.

               Susanna Y. Chu, Attorney, Federal Energy Regulatory
            Commission, argued the cause for respondent. With her on the
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            brief were Matthew R. Christiansen, General Counsel, and
            Robert H. Solomon, Solicitor.

                 John Longstreth argued the cause for intervenor in support
            of respondent. With him on the brief were David L. Wochner
            and Timothy J. Furdyna.

                Before: HENDERSON, PAN, and GARCIA, Circuit Judges.

                Opinion for the Court filed by Circuit Judge GARCIA.

                 GARCIA, Circuit Judge: Healthy Gulf and four other
            environmental groups petition for review of the Federal Energy
            Regulatory Commission’s decision to authorize the
            construction and operation of liquefied natural gas facilities in
            southwestern Louisiana. They argue that the Commission did
            not properly address certain National Environmental Policy
            Act and Natural Gas Act requirements. We agree, in part. The
            Commission inadequately explained its failure to determine the
            environmental significance of the project’s greenhouse gas
            emissions, and it failed to adequately assess the cumulative
            effects of the project’s nitrogen dioxide emissions. The
            Commission did, however, satisfy its obligation to consider
            alternatives to the project. We therefore grant the petitions in
            part, deny them in part, and remand for further consideration.
                                           I
                                           A
                The Commission exercises delegated authority under
            Section 3 of the Natural Gas Act (“NGA”) to “approve or deny
            an application for the siting, construction, expansion, or
            operation” of facilities used to export liquefied natural gas
            (“LNG”). 15 U.S.C. § 717b(e)(1); see EarthReports, Inc. v.
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            FERC, 828 F.3d 949, 952–53 (D.C. Cir. 2016). The
            Commission “shall” approve such an application unless it finds
            that the project “will not be consistent with the public interest.”
            15 U.S.C. § 717b(a); see EarthReports, 828 F.3d at 953.
                 “Before authorizing the construction and operation of a
            proposed LNG facility . . . the Commission must conduct an
            environmental review” under the National Environmental
            Policy Act (“NEPA”). Vecinos para el Bienestar de la
            Comunidad Costera v. FERC, 6 F.4th 1321, 1325 (D.C. Cir.
            2021). If, as here, the Commission determines that approval of
            the facility constitutes a “major Federal action[] significantly
            affecting the quality of the human environment,” the
            Commission must prepare an Environmental Impact Statement
            (“EIS”). 42 U.S.C. § 4332(2)(C); see id. § 4336(b)(1). Among
            other things, the EIS must address the “reasonably foreseeable
            environmental effects” of the proposed action as well as “a
            reasonable range of alternatives . . . that are technically and
            economically feasible, and meet the purpose and need of the
            proposal.” Id. §§ 4332(2)(C)(i), (iii). The EIS “forces the
            [Commission] to take a ‘hard look’ at the environmental
            consequences of its actions” and “ensures that [those]
            consequences, and the [Commission’s] consideration of them,
            are disclosed to the public.” Sierra Club v. FERC (“Sabal
            Trail”), 867 F.3d 1357, 1367 (D.C. Cir. 2017).
                                            B
                 On August 20, 2019, Commonwealth LNG, LLC
            (“Commonwealth”) applied to the Commission for
            authorization to build and operate a natural gas liquefaction and
            export facility in Cameron Parish, Louisiana (the “Project”).
            The Project would be located on approximately 153 acres of
            land on the west side of the Calcasieu Ship Channel, near the
            entrance to the Gulf of Mexico.              As relevant here,
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            Commonwealth’s proposal included six LNG storage tanks, a
            marine facility consisting of an LNG carrier berth and barge
            dock, and utilities for electricity generation.
                 On September 9, 2022, after taking public comments on
            the Project’s potential environmental impacts, the Commission
            issued a final EIS (“FEIS”). The FEIS found that, although the
            Project would have a permanent and significant impact on
            visual resources in the area, other impacts would not be
            significant or would be reduced to less-than-significant levels
            if certain recommended measures were incorporated into the
            Project.
                 On November 17, 2022, the Commission authorized the
            Project as modified by the FEIS’s recommendations. See
            Order Granting Authorization Under Section 3 of the Natural
            Gas Act, Commonwealth LNG, LLC, 181 FERC ¶ 61,143 (Nov.
            17, 2022) (“Authorization Order”). The Authorization Order
            found that the Project as modified constitutes an
            “environmentally acceptable action,” id. ¶ 84, and that its
            construction and operation are “not inconsistent with the public
            interest,” id. ¶ 85.
                 On December 19, 2022, petitioners requested rehearing.
            Petitioners claimed that the Commission failed to reasonably
            assess the Project’s greenhouse gas (“GHG”) emissions, air
            pollution impacts, and impacts on sensitive species; rigorously
            explore all reasonable alternatives; and properly balance
            adverse effects and benefits under the NGA Section 3 public
            interest analysis. On January 19, 2023, after the Commission
            failed to timely respond, petitioners’ request was deemed
            denied by operation of law.
                 On March 15, 2023, petitioners asked this court to review
            the Commission’s order. We granted Commonwealth leave to
            intervene. On June 9, 2023, while the petitions were pending,
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            the Commission issued an order addressing the rehearing
            request and affirming the authorization. See Order Addressing
            Arguments Raised on Rehearing, Commonwealth LNG, LLC,
            183 FERC ¶ 61,173 (June 9, 2023) (“Rehearing Order”).
                                             II
                  We review petitioners’ NEPA claims under the “arbitrary
            and capricious” standard of the Administrative Procedure Act
            (“APA”). Nevada v. U.S. Dep’t of Energy, 457 F.3d 78, 87
            (D.C. Cir. 2006). “Our role is not to flyspeck an agency’s
            environmental analysis, looking for any deficiency no matter
            how minor, but instead simply to ensure that the agency has
            adequately considered and disclosed the environmental impact
            of its actions and that its decision is not arbitrary or capricious.”
            Birckhead v. FERC, 925 F.3d 510, 515 (D.C. Cir. 2019) (per
            curiam) (citations and quotation marks omitted). We therefore
            ask whether the agency “examine[d] the relevant data and
            articulate[d] a satisfactory explanation for its action[,]
            including a rational connection between the facts found and the
            choice made.” Motor Vehicle Mfrs. Ass’n, Inc. v. State Farm
            Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal quotation
            marks omitted).
                 Petitioners assert that the Commission failed to comply
            with NEPA because it arbitrarily declined to determine whether
            the Project’s GHG emissions would be significant;
            inadequately assessed the cumulative effects of the Project’s
            nitrogen dioxide (“NO2”) emissions; and failed to properly
            consider alternatives to Commonwealth’s proposal. We agree
            with the first and second arguments but reject the third.
                                             A
                 Petitioners contend that NEPA compels the Commission
            to determine the significance of the Project’s GHG emissions.
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            They cite Council of Environmental Quality (“CEQ”)
            regulations stating that the “discussion” of environmental
            consequences in an EIS “shall include . . . [t]he environmental
            impacts of the proposed action . . . and the significance of those
            impacts,” 40 C.F.R. § 1502.16(a)(1) (2020), 1 and the
            Commission’s own regulations, which require an EIS to
            disclose summaries of “[t]he significant environmental impacts
            of the proposed action.” 18 C.F.R. § 380.7(a); see also id.
            § 380.7(d) (mandating disclosure of “significant environmental
            impacts” that “cannot be mitigated”). In the orders on review,
            the Commission did not dispute the premise that it is generally
            required to determine whether the impacts of GHG emissions
            are significant or not when it can reasonably do so. 2

                 1
                   The CEQ regulations cited here and elsewhere in the opinion
            have since been amended, but those amendments did not take effect
            until after the Commission entered the challenged orders. See
            National Environmental Policy Act Implementing Regulations
            Revisions Phase 2, 89 Fed. Reg. 35,442 (May 1, 2024) (effective July
            1, 2024). Thus, we cite and apply the regulations in effect at the time
            of the orders. See Ctr. for Biological Diversity v. FERC, 67 F.4th
            1176, 1181 n.2 (D.C. Cir. 2023).
                 2
                   After oral argument, this court held in another case that NEPA
            and the CEQ regulation cited above do not require an agency to
            formally label GHG emissions and their ensuing costs “as either
            significant or insignificant,” so long as the agency prepares an EIS
            and adequately discusses the emissions and their significance. Food
            & Water Watch v. FERC, 2024 WL 2983833, at *6 (D.C. Cir. 2024).
            That holding does not affect this case for the reason mentioned
            above: In the orders on review here, the Commission did not dispute
            the premise that it must make a significance determination absent a
            sufficient explanation for not doing so in a particular proceeding, see
            Authorization Order ¶¶ 75–76; Rehearing Order ¶¶ 38–41. The
            longstanding Chenery principle requires us to “judge the propriety of
            [agency] action solely by the grounds invoked by the agency.” SEC
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                 In the FEIS, the Commission estimated that the direct
            GHG emissions from the Project’s operation would result in an
            annual increase of about 3.2 million metric tons of carbon
            dioxide equivalent (“CO2e”). J.A. 380. The FEIS also
            compared those estimated emissions to current state and
            national emissions levels and estimated the Project’s impact
            using the “social cost of carbon,” a method of quantifying in
            dollars the climate change impact of greenhouse gas emissions.
            J.A. 380–82; see Del. Riverkeeper Network v. FERC, 45 F.4th
            104, 111 (D.C. Cir. 2022). But the Commission then explained
            why it could not reasonably determine whether those emissions
            are significant:
                     To date, Commission staff have not identified a
                     methodology to attribute discrete, quantifiable,
                     physical effects on the environment resulting
                     from the Project’s incremental contribution to
                     GHGs. Without the ability to determine
                     discrete resource impacts, Commission staff are
                     unable to assess the Project’s contribution to




            v. Chenery Corp., 332 U.S. 194, 196 (1947); see Calcutt v. FDIC,
            598 U.S. 623, 624 (2023) (same). We therefore assess the
            Commission’s explanation—and only that explanation—for not
            making a significance determination here.
                 Petitioners would further distinguish Food & Water Watch on
            the ground that the opinion did not address Commission regulations
            that—petitioners argue—independently require the agency to make
            a binary significance determination for GHG emissions. Petitioners’
            F.R.A.P. 28(j) Letter at 1 (June 24, 2024) (citing 18 C.F.R.
            §§ 380.7(a), (d)). But petitioners never relied on those regulations in
            making their argument below, so we lack jurisdiction to consider
            them. 15 U.S.C. § 717r(b).
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                     climate change through any objective analysis
                     of physical impact attributable to the Project.
            J.A. 380. In the Rehearing Order, the Commission restated its
            explanation: “[T]here currently are no accepted tools or
            methods for the Commission to use to determine [GHG]
            significance.” Rehearing Order ¶ 41.
                 Petitioners argued below, and now argue before us, that
            the Commission could have used either of two specific
            methods to determine the significance of project-level GHG
            emissions. But the agency adequately explained why it
            rejected each of those approaches.
                 First, petitioners submit the Commission should have
            “consider[ed]” applying its February 2022 policy statement on
            the evaluation of climate impacts. Petitioners’ Brief 30. Per
            the statement, “[a] project with estimated emissions of 100,000
            metric tons per year of CO2e or greater” is “presumed to have
            a significant effect” on the environment. Interim Policy
            Statement, Consideration of Greenhouse Gas Emissions in
            Natural Gas Infrastructure Project Reviews, 178 FERC
            ¶ 61,108, ¶ 81 (Feb. 18, 2022). Because the Project’s
            emissions are projected to exceed that threshold many times
            over, petitioners argue that they are significant. But as the
            Commission explained, that policy has since been suspended
            and opened to further public comment as a draft statement.
            Rehearing Order ¶ 41 n.135. Indeed, in its order reclassifying
            the statement as a draft, the Commission declared that it would
            not apply the policy “to pending applications or applications
            filed before the Commission issues any final guidance.” Order
            on Draft Policy Statements, Consideration of Greenhouse Gas
            Emissions in Natural Gas Infrastructure Project Reviews, 178
            FERC ¶ 61,197, ¶ 2 (Mar. 24, 2022). In an opinion issued after
            the parties completed briefing, we upheld the Commission’s
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            decision to not apply the February 2022 policy statement on the
            same grounds. See Ala. Mun. Distribs. Grp. v. FERC, 100
            F.4th 207, 214–15 (D.C. Cir. 2024). Because we see no reason
            or basis to distinguish Alabama Municipal, we reach the same
            conclusion here.
                 Second, petitioners fault the Commission for not applying
            the “social cost of carbon” to determine GHG significance.
            The FEIS estimated that the social cost of the Project’s
            reasonably foreseeable GHG emissions up to the year 2050
            ranged from approximately $900 million to $5.5 billion,
            depending on the discount rate applied. J.A. 381. In the
            Rehearing Order, the Commission explained that it disclosed
            those figures for “informational purposes” but declined to use
            the method to make a significance determination because
            “there are no criteria to identify what monetized values are
            significant for NEPA purposes,” and the Commission is
            “currently unable to identify any such appropriate criteria.”
            Rehearing Order ¶ 40. Put differently, the “social cost of
            GHGs tool merely converts GHG emissions estimates into a
            range of dollar-denominated figures; it does not, in itself,
            provide a mechanism or standard for judging ‘significance.’”
            Id. ¶ 40 n.128. Once again, we have previously found this
            rationale sufficient to survive APA review, and we see no basis
            to deviate now. See Ctr. for Biological Diversity v. FERC, 67
            F.4th 1176, 1183–84 (D.C. Cir. 2023); EarthReports, 828 F.3d
            at 956.
                 Petitioners emphasize that, in both Center for Biological
            Diversity and EarthReports, the Commission identified
            additional reasons for not using the social cost of carbon to
            determine significance—reasons the Commission does not
            advance here. Compare Ctr. for Biological Diversity, 67 F.4th
            at 1184 (explaining “the lack of consensus about how to apply
            the social cost of carbon on a long time horizon” and that the
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             method “places a dollar value on carbon emissions but does not
             measure environmental impacts as such”) and EarthReports,
             828 F.3d at 956 (same), with Rehearing Order ¶ 40 (relying
             solely on the lack-of-significance-criteria rationale). In
             petitioners’ view, this distinction matters because no court has
             held that the Commission’s lack-of-criteria explanation alone
             justifies refusing to use the method to determine GHG
             significance.
                  But petitioners fail to convincingly articulate why that
             explanation is insufficient on its own. They argue that
             significance determinations for environmental effects always
             involve subjective judgment calls, and that NEPA requires
             agencies to make informed judgments the best they can with
             the data they have. See Duncan’s Point Lot Owners Ass’n v.
             FERC, 522 F.3d 371, 376 (D.C. Cir. 2008); Spiller v. White,
             352 F.3d 235, 244 n.5 (5th Cir. 2003); Mont. Wilderness Ass’n
             v. McAllister, 666 F.3d 549, 559 (9th Cir. 2011). But those
             points do not engage with the Commission’s concern. The
             Commission’s reluctance to assess the significance of the
             Project’s GHG emissions using the social cost of carbon is not
             based on an aversion to subjective judgments, nor is it based on
             a lack of data. Instead, the Commission explained that it has
             not yet identified criteria that would allow it to non-arbitrarily
             determine when identified social costs become significant
             under NEPA. Petitioners in this case do not offer any such
             criteria themselves, nor do they provide us with any other basis
             to question the Commission’s expert judgment.
                 Separately, petitioners raise one more challenge to the
             adequacy of the Commission’s explanation of why it did not
             determine whether the Project’s GHG emissions were
             significant: They contend that the Commission failed to
             explain its apparent departure from the approach it took in
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             Northern Natural Gas Co., 174 FERC ¶ 61,189 (2021). On this
             point, we agree.
                  In Northern Natural, the Commission compared a
             project’s reasonably foreseeable GHG emissions to the total
             GHG emissions of the United States and determined that the
             emissions were not significant.          Id. ¶ 34.     “That
             comparison . . . provide[d] [the Commission] with a reasoned
             basis to consider the significance of the project’s GHG
             emissions and their potential impact on climate change.” Id.
             The Commission found that the project’s operations would
             increase national GHG emissions by only 0.000006%. Id.
             Because the increase was so marginal, the Commission
             concluded that “[h]owever [its] approach to the significance
             analysis evolves, the reasonably foreseeable GHG emissions
             associated with th[e] project would not be considered
             significant.” Id. ¶ 33.
                  Petitioners argued to the Commission that the converse is
             true here. See J.A. 483. Recall that the Project would emit an
             estimated 3.2 million metric tons of CO2e a year. That number
             represents a 0.06% increase in national emissions levels and a
             1.7% increase in Louisiana’s emissions levels, J.A. 381, and is
             roughly thirty-two times the Commission’s draft significance
             threshold of 100,000 metric tons. 3 Petitioners raise a
             meaningful argument that it is unclear why the Commission
             could not have concluded, using the logic of Northern Natural,
             that the Project’s GHG emissions were significant because they
             would register above any threshold the Commission could
             reasonably adopt.


                 3
                   Petitioners cite the Project’s 3.6 million tons of annual CO2e
             emissions, Reply Brief 9, which is equivalent to 3.2 million metric
             tons.
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                  The Commission’s orders, however, did not acknowledge
             petitioners’ argument nor provide any other explanation of why
             Northern Natural’s logic would not apply here. That failure is
             a straightforward violation of the APA’s reasoned decision-
             making requirements: When “a party makes a significant
             showing that analogous cases have been decided differently,
             the agency must do more than simply ignore that argument.”
             LeMoyne-Owen Coll. v. NLRB, 357 F.3d 55, 61 (D.C. Cir.
             2004).
                  We have no occasion to decide whether Northern
             Natural’s logic in fact applies here. Perhaps the Commission
             would distinguish between insignificance determinations like
             the one made in Northern Natural, for which there is a logical
             lower bound of comparison (zero), and significance
             determinations, for which no comparable upper bound of
             comparison exists. Or perhaps the Commission would offer a
             different distinction. In any event, what matters for purposes
             of our review is that the Commission did not offer any
             explanation at all for not factoring in Northern Natural’s mode
             of analysis. Because the Commission neglected to address
             whether and why its order in Northern Natural is
             distinguishable, we remand for it to do so.
                                           B
                 Next, petitioners correctly argue that the Commission’s
             analysis of the cumulative effects of the Project’s NO2
             emissions was arbitrary.
                  NEPA regulations mandate that an EIS consider not only
             a proposed project’s “[d]irect” and “[i]ndirect” effects on the
             environment—which together are the project’s “incremental
             effects”—but also its “[c]umulative effects.” 40 C.F.R.
             §§ 1508.1(g)(1)–(3) (2022). Cumulative effects are the
             “effects on the environment that result from the incremental
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             effects of the action when added to the effects of other past,
             present, and reasonably foreseeable actions regardless of what
             agency . . . or person undertakes such other actions.” Id.
             § 1508.1(g)(3). They “can result from individually minor but
             collectively significant actions taking place over a period of
             time.” Id. NEPA’s mandate to consider the cumulative effects
             of a project makes sense: A project’s incremental emissions do
             not exist in a vacuum, and requiring consideration of the
             overall state of the surrounding environment helps ensure that
             agencies do not overlook the full impact of those emissions.
             See Grand Canyon Trust v. FAA, 290 F.3d 339, 342 (D.C. Cir.
             2002) (agencies “must give a realistic evaluation of the total
             impacts and cannot isolate a proposed project, viewing it in a
             vacuum”).
                  The FEIS endorsed Commonwealth’s cumulative
             modeling of the Project’s air quality effects, including NO2
             emissions. The model adopted two thresholds set by the
             Environmental Protection Agency: National Ambient Air
             Quality Standards (“NAAQS”) and Significant Impact Levels
             (“SILs”). The Clean Air Act (“CAA”) requires EPA to publish
             a list of air pollutants that “may reasonably be anticipated to
             endanger public health or welfare.” 42 U.S.C. § 7408(a)(1)(A).
             For each such pollutant, EPA must issue NAAQS, which it sets
             at the level “requisite to protect the public health” while
             “allowing an adequate margin of safety.” Id. § 7409(b)(1). As
             part of the CAA permitting process, to determine whether a
             proposed emissions source (such as the Project) causes or
             contributes to a NAAQS exceedance for a particular pollutant,
             the permitting agency applies that pollutant’s SIL. See 40
             C.F.R. § 51.165(b)(2). Petitioners challenge the way the
             Commission used those thresholds to assess the cumulative
             effects of the Project’s NO2 emissions.
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                  In the FEIS, the Commission identified certain NO2
             NAAQS exceedances in the Project’s vicinity. J.A. 374. It
             then used the SIL to determine whether the Project’s
             incremental emissions were significant and concluded they
             were not. See J.A. 342 (noting that “emissions only associated
             with the Project” are compared to “corresponding significant
             impact levels” to determine if the emissions concentrations are
             “‘significant’”). The Commission then redeployed the SIL to
             determine whether the Project’s cumulative effects were
             significant. It concluded that they were not, for the same reason
             as for the incremental emissions: because the Project’s
             incremental contribution “would be less than the [1-hour]
             significant impact level at each exceedance location.” J.A.
             316; see also J.A. 376 (noting the Project “would only
             contribute a minor amount to cumulative air impacts”);
             Authorization Order ¶ 63 (endorsing this analysis).
                  We agree with petitioners that the Commission’s approach
             to assessing cumulative NO2 effects was arbitrary. The
             Commission does not dispute that it found the Project’s NO2
             emissions’ cumulative effects insignificant because the
             Project’s incremental NO2 emissions fell below the 1-hour NO2
             SIL at each NAAQS exceedance location. In other words, the
             Commission said that because the project’s incremental effects
             were insignificant, its cumulative effects were, too. That is a
             non sequitur. Again, NEPA requires the Commission to assess
             the Project’s cumulative effects, which are the “effects on the
             environment that result from the incremental effects of the
             action when added to the effects of other past, present, and
             reasonably foreseeable actions.” 40 C.F.R. § 1508.1(g)(3)
             (2022) (emphasis added). Simply measuring the Project’s own
             emissions against the SIL fails to satisfy that requirement.
             Indeed, on the Commission’s view, the cumulative effect of a
             Project’s emissions would never be deemed significant unless
             the Project’s incremental emissions were already significant on
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             their own. That approach would eviscerate the purpose behind
             requiring a distinct cumulative effects analysis in the first
             place, which is to account for “collectively significant”
             environmental impacts that may result from “individually
             minor” actions. Id.
                  We therefore remand for the Commission either to explain
             how its use of the 1-hour NO2 SIL is consistent with a proper
             cumulative effects analysis or to adequately assess the
             cumulative effects of the Project’s NO2 emissions using a
             different methodology.
                  Petitioners also raise a distinct challenge to the
             Commission’s air quality analysis that we find unpersuasive.
             Petitioners assert that the 1-hour NO2 SIL should not be used at
             all in NEPA effects analyses, even for assessing a project’s
             incremental effects. They argue that, unlike with the
             corresponding NAAQS, “EPA did not engage in any
             comparable analysis or expert judgment in proposing the
             interim one-hour nitrogen dioxide Significant Impact Level.”
             Petitioners’ Brief 49. Petitioners are mistaken. EPA “derived”
             the 1-hour NO2 SIL “by using an impact equal to 4% of the 1-
             hour NO2 NAAQS,” and EPA has explained its choice of the
             4% threshold.         See EPA, Guidance Concerning the
             Implementation of the 1-Hour NO2 NAAQS for the Prevention
             of Significant Deterioration Program Att. 1 (“2010 EPA
             Guidance”), at 12 (June 29, 2010), https://perma.cc/MSH8-
             VBXD. Because the NAAQS are a “generally accepted
             standard” for evaluating air-pollution effects in the NEPA
             context, see Sabal Trail, 867 F.3d at 1370–71 n.7, we see no
             reason why the Commission could not also apply the derivative
             SIL as part of its analysis.
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                                             C
                  Petitioners next contend that the Commission failed to
             adequately consider three alternatives to the Project: replacing
             the terminal’s simple-cycle power plant with a 120-megawatt
             combined-cycle power plant, eliminating one of the six LNG
             storage tanks, and mandating the use of carbon capture and
             sequestration.
                  Although NEPA regulations require the Commission to
             “[e]valuate reasonable alternatives to the proposed action,” 40
             C.F.R. § 1502.14(a) (2020), the Commission “need not provide
             the same level of detailed analysis . . . that it provides for the
             action under review,” Ctr. for Biological Diversity, 67 F.4th at
             1183. The discussion of alternatives “need not be exhaustive”
             so long as there is “information sufficient to permit a reasoned
             choice.” Birckhead, 925 F.3d at 515. Here, the Commission’s
             consideration of each of the three alternatives sufficed.
                                             1
                  Public comments asked Commonwealth to consider a
             combined-cycle power plant instead of its proposed simple-
             cycle power plant to generate 120 megawatts of onsite power
             for the Project. J.A. 302. The FEIS explained that, compared
             to a simple-cycle generator, the combined-cycle alternative
             “converts more energy from fuel gas to electricity,” but its
             “refrigerant compressor gas turbine drives consume more
             fuel.” Id. The net result would be fuel and emissions savings
             of “less than 10 percent.” Id. On the other side of the equation,
             the Commission noted that the combined-cycle alternative
             would need “significant[ly]” more land “to accommodate [its]
             waste heat recovery equipment, steam turbine, air-cooled
             condenser, and water treatment facilities.” Id. That additional
             space “would require an expansion of the [t]erminal into
             eastern black rail habitat and wetlands.” Id. Weighing the
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             potential emissions reduction against the increased land use,
             the Commission concluded that the combined-cycle alternative
             “would not provide a significant environmental advantage to
             Commonwealth’s proposal.” Id.; see Rehearing Order ¶ 26.
                  Petitioners counter that “[n]othing in the record supports
             [the Commission’s] claim that a combined cycle alternative
             would require a bigger footprint.” Petitioners’ Brief 57. They
             argue that although the waste heat recovery equipment for
             combined-cycle plants takes up space, that does not
             “necessarily” translate into “a larger overall footprint,”
             “because the turbine itself can be smaller.” Id. But as the
             Commission explained, the air-cooled condenser and water
             treatment facilities would also take up additional space
             compared to a simple-cycle plant. J.A. 302. Petitioners do not
             dispute that fact, nor do they claim that the added footprint
             from those features is canceled out by some other space-saving
             aspect of the combined-cycle design.
                  Petitioners also contend that the Commission should have
             assessed exactly how much additional space would be needed
             to implement the combined-cycle alternative. But they point
             to no authority indicating that the Commission must precisely
             quantify competing environmental considerations when
             evaluating alternatives. Moreover, the Commission did present
             a space estimate, explaining that the 120-megawatt combined-
             cycle alternative’s footprint would fall in between the proposed
             simple-cycle generator’s footprint and the 100-acre 500-
             megawatt combined-cycle alternative that the Commission had
             also considered as part of its analysis. Id. Although the
             Commission certainly could have been more precise in its
             estimate, that alone does not render its assessment of the
             combined-cycle alternative arbitrary or capricious. See Indian
             River Cnty. v. U.S. Dep’t of Transp., 945 F.3d 515, 533 (D.C.
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             Cir. 2019) (“[W]e must give deference to agency judgments as
             to how best to prepare an EIS.”).
                                            2
                 Next, Petitioners argue that the Commission failed to
             reasonably consider an alternative terminal configuration that
             would have incorporated five LNG storage tanks instead of the
             proposed six.
                  In Commonwealth’s original 2019 application to the
             Commission, the Project design included six LNG storage
             tanks, each with a 40,000 m3 capacity, for a total storage
             capacity of 240,000 m3. J.A. 300. In its 2021 application
             amendment, however, Commonwealth adjusted the proposed
             design of the tanks so that each one would have a 50,000 m3
             capacity, for a total storage capacity of 300,000 m3. Id.
             Despite the increase in proposed storage capacity,
             Commonwealth did not propose a corresponding increase in
             LNG production. Id. That prompted a commenter to request
             that Commonwealth alter the configuration of the terminal to
             incorporate five 50,000 m3 tanks, for a total storage capacity of
             250,000 m3. Id. That capacity would still be greater than what
             Commonwealth originally proposed and would potentially
             reduce the Project footprint. Id.
                  The Commission considered and rejected the five-tank
             alternative, concluding that operational considerations
             outweighed the maximum 2.3-acre potential reduction in the
             Project’s wetlands encroachment. Id. The Commission
             explained that the additional storage capacity from
             Commonwealth’s updated six-tank configuration “reduce[d]
             the likelihood that the [t]erminal would need to shut down”
             during inclement weather events, when LNG carriers “would
             not be able to berth at the [t]erminal and offload LNG from the
             [t]erminal in a timely fashion.” Id. Without that added
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             capacity, Commonwealth would need to shut down and restart
             the terminal more often, which would result in greater adverse
             air impacts due to the associated “flaring events.” Id.
                  Mirroring their earlier argument, petitioners assert that the
             Commission needed to quantify the emissions savings
             attending the six-tank configuration before concluding that
             those savings justified rejecting the footprint-reducing five-
             tank proposal. But again, petitioners point to no precedent
             requiring such granular analysis when considering alternatives.
             What matters is whether the Commission based its decision to
             prioritize operational flexibility on “information sufficient to
             permit a reasoned choice.” Birckhead, 925 F.3d at 515
             (quotation omitted). It did. In the Rehearing Order, the
             Commission explained that it viewed Commonwealth’s
             operational considerations as “well-founded” because the
             company had provided a list of the thirty-three instances in
             which the nearby Calcasieu Ship Channel closed over an eight-
             month period due to inclement weather. Rehearing Order ¶ 31.
             The Commission also noted that Commonwealth had proposed
             to construct only a single berthing dock for the Project, which
             further “limit[ed] the flexibility with which [it] could reduce
             tank inventory when needed compared to facilities with
             multiple berths.” Id. These concerns formed an adequate basis
             for the Commission’s decision to reject the five-tank
             alternative.
                  Zooming out, petitioners argue that the Commission’s
             consideration of the five-tank alternative is inconsistent with
             its assessment of the 120-megawatt combined-cycle
             alternative. With the former, the Commission chose to “protect
             wetlands at the expense of air” while with the latter, it chose to
             “protect[] air at the expense of wetlands.” Petitioners’ Brief
             64. In context, however, these choices are not inherently in
             conflict with one another. As petitioners concede, in
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             considering the two alternatives, the Commission did “not
             conclude[] that air impacts are categorically more important
             than wetland or habitat, or vice versa.” Id. Rather, the
             Commission made decisions based on the relevant
             considerations specific to each alternative, and it explained
             those decisions in sufficient detail.
                                            3
                  Finally, petitioners maintain that the Commission failed to
             adequately consider requiring carbon capture and sequestration
             for the Project.
                  In the FEIS, the Commission relied on Commonwealth’s
             representation that, although the Project could technically
             capture and transport CO2, “there are no CO2 sequestration
             facilities beneath the Gulf of Mexico seabed in Cameron Parish
             or near the Project site.” J.A. 382. The Commission thus
             determined that carbon capture and sequestration was presently
             infeasible. See id. The Commission acknowledged that
             Venture Global, the sponsor of a different project, had
             proposed a carbon capture and sequestration system for its
             nearby CP2 LNG facility. J.A. 383. But the Commission
             explained that it was too early to tell whether the Project could
             use that sequestration infrastructure, as the CP2 sequestration
             facility was not yet approved, much less constructed. Id.
             (noting that CP2’s “pipeline alignment, platform location, and
             well location are in the siting stage of project development”).
             “Without additional information,” the Commission concluded,
             “we are unable to evaluate the feasibility of CP2 LNG’s
             sequestration site for the Commonwealth Project.” Id. In the
             Rehearing Order, the Commission determined that “because
             the requisite infrastructure does not exist,” carbon capture and
             sequestration “is appropriately rejected and infeasible.”
             Rehearing Order ¶ 28.
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                  Petitioners object that, before dismissing the alternative,
             the Commission should have sought more information on the
             feasibility of using CP2’s proposed facilities. This criticism is,
             at best, impermissible flyspecking. “NEPA . . . requires the
             Commission to at least attempt to obtain the information
             necessary to fulfill its statutory responsibilities.” Birckhead,
             925 F.3d at 520. The Commission did so here. It examined the
             status of the CP2 facilities and found that basic elements of the
             project were still in flux. In the context of evaluating
             alternatives, the Commission satisfied its NEPA obligations.
             And under the circumstances, it reasonably rejected carbon
             capture and sequestration as infeasible.
                                            III
                  Because the Commission failed to adequately explain why
             it could not determine the significance of the Project’s GHG
             impacts and failed to properly consider the cumulative effects
             associated with the Project’s NO2 emissions, it must also
             reevaluate its public interest determination under Section 3 of
             the NGA.
                  “We review the Commission’s orders approving LNG
             facilities and pipelines, like its NEPA analyses, under the
             arbitrary and capricious standard of the APA.” Vecinos,
             6 F.4th at 1331. “Where the Commission rests a decision, at
             least in part, on an infirm ground, we will find the decision
             arbitrary and capricious.” Id.
                  Here, the Authorization Order found that the Project is
             “not inconsistent with the public interest” in part due to “the
             findings and recommendations of the final EIS.” Authorization
             Order ¶ 18. Because the FEIS’s findings incorporate the
             Commission’s deficient NEPA analyses, we necessarily
             conclude that the resulting public interest determination is
             deficient as well. See Vecinos, 6 F.4th at 1331. Accordingly,
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             on remand, the         Commission      must     reconsider   that
             determination.
                                            IV
                  As for the appropriate remedy, we find that the
             Commission’s errors do not merit vacating the Authorization
             Order. “The decision to vacate depends on two factors: the
             likelihood that ‘deficiencies’ in an order can be redressed on
             remand, even if the agency reaches the same result, and the
             ‘disruptive consequences’ of vacatur.” Black Oak Energy, LLC
             v. FERC, 725 F.3d 230, 244 (D.C. Cir. 2013) (quoting Allied-
             Signal v. Nuclear Regul. Comm’n, 988 F.2d 146, 150–51 (D.C.
             Cir. 1993)).
                  Both factors counsel against vacatur. We think it
             “reasonably likely” that, on remand, the Commission can
             redress the defects in its GHG-emissions and cumulative-
             effects analyses and still authorize the Project. Vecinos, 6 F.4th
             at 1332.      Moreover, vacating the authorization would
             “needlessly disrupt” Commonwealth’s construction plans and
             commercial operations. Id.; see Commonwealth Brief 39
             (explaining that the company “has executed a binding, 20-year
             contract for the supply of 2 million tons per year of the
             Project’s output”).
                  We therefore grant the petitions for review in part, deny
             them in part, and remand to the Commission without vacatur
             for further proceedings consistent with this opinion.
                                                                  So ordered.
